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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF OKLAHOMA

ALVA RAY WELLS,                          )
                                         )
       Plaintiff,                        )
                                         )
v.                                       )             Case No. CIV-20-791-D
                                         )
MAJOR COUNTY JAIL, et al.,               )
                                         )
       Defendants.                       )

                                        ORDER

       Upon review of the file and noting no timely objection to the findings and

recommendations of United States Magistrate Judge Gary M. Purcell pursuant to 28 U.S.C.

§ 636(b)(1), the Court adopts the Report and Recommendation [Doc. No. 8], in its entirety.

       For the reasons stated therein, this action is DISMISSED WITHOUT PREJUDICE

to refiling.

       IT IS SO ORDERED this 20th day of October, 2020.
